         Case 2:19-cv-05694-MAK Document 10 Filed 02/24/20 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JOHN MAHONEY, on behalf of himself           :
 and all others similarly situated,           :
                                              :
                        Plaintiffs,           : No. 2:19-cv-05694-MAK
                                              :
           v.                                 :
                                              :
 PENNSYLVANIA HEALTH CLUB, INC.,              :
                        Defendant.            :
                                              :



                            WITHDRAWAL OF APPEARANCE

TO THE CLERK OF COURT:

       Kindly withdraw the appearance of Luke P. McLoughlin on behalf of Defendant

Pennsylvania Health Club, Inc. in the above-captioned matter.


                                            /s/ Luke P. McLoughlin
                                            Duane Morris LLP
                                            Luke P. McLoughlin, Esq. (PA No. 312769)
                                            30 S. 17th Street
                                            Philadelphia, PA 19103
                                            Tel: (215) 979-1167
                                            LPMcLoughlin@duanemorris.com
                                            Counsel for Defendant

Dated: February 24, 2020
         Case 2:19-cv-05694-MAK Document 10 Filed 02/24/20 Page 2 of 2




                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JOHN MAHONEY, on behalf of himself           :
 and all others similarly situated,           :
                                              :
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                                              :
           v.                                 :
                                              :
 PENNSYLVANIA HEALTH CLUB, INC.,              :
                        Defendant.            :
                                              :



                                CERTIFICATE OF SERVICE

       I hereby certify that on the date below, the foregoing Withdrawal of Appearance has been

filed on ECF and is available for viewing and downloading.


                                           /s/ Luke P. McLoughlin
                                           Luke P. McLoughlin, Esq.




Dated: February 24, 2020
